                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2021-NCCOA-44

                                        No. COA19-617

                                      Filed 2 March 2021

     Pitt County, No. 16CRS055654

     STATE OF NORTH CAROLINA

                   v.

     CHARLIE JAMES HARRIS, III, Defendant.


             Appeal by defendant from judgment entered 1 March 2018 by Judge Marvin

     K. Blount III in Superior Court, Pitt County. Heard in the Court of Appeals 14 April

     2020.


             Attorney General Joshua H. Stein, by Special Counsel to the Chief Deputy
             Attorney General, Shannon J. Cassell, for the State.

             Jarvis John Edgerton, IV, for defendant-appellant.


             STROUD, Chief Judge.


¶1           Defendant appeals judgments convicting him of first degree attempted murder

     and assault with a deadly weapon with intent to kill inflicting serious injury. Under

     North Carolina General Statute § 8-57, defendant’s wife was “both competent and

     compellable to” testify against defendant as this is “a prosecution for assaulting or

     communicating a threat to the other spouse[.]”         Defendant’s wife’s testimony

     regarding his statements to her while he was attacking her with a knife and while
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     she was attempting to escape were not “prompted by the affection, confidence, and

     loyalty engendered by such relationship,” so these statements were not “confidential

     communication[s.]” The trial court did not err in compelling wife to testify as to the

     statements’ defendant made and in not striking her testimony. N.C. Gen. Stat. § 8-

     57 (2015); State v. Rollins, 363 N.C. 232, 237, 675 S.E.2d 334, 337 (2009) (citations

     and quotation marks omitted). We conclude there was no error.

                                      I.      Background

¶2                On the first day of defendant’s jury trial, defendant’s wife, Leah,1

     testified that on 30 July 2016, she and defendant got into an argument, and when she

     began walking upstairs defendant stabbed her multiple times in her back, arms, leg,

     stomach, face, and neck. Leah further testified that defendant stopped stabbing her

     after he cut himself, and he began taking off her pants; when she asked what he was

     doing he responded, “I want to have sex, this could be my last time having sex.” Leah

     testified she told defendant she would have sex with him if he put the knife down,

     but she did not want to have sex, rather she “just wanted to go to the hospital[,]” and

     she only agreed so defendant would “put the knife down.”

¶3         Defendant had sex with Leah and requested her to do certain things, but she

     was in pain and “really couldn’t move.” At some point, Leah gained control of the




     1 A pseudonym is used.
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     knife, and she testified defendant told her “it’s over for him now and he knows the

     police is coming and he just wanted me to let the knife go so he could kill hisself[.]”

     Leah begged for water, and defendant asked her “all of these questions,” and then

     took her phone into another room. Leah ran out of the house, still without her pants

     and screaming, and drove to a Kangaroo store “around the corner” for help. Leah

     required trauma surgery for her wounds from the stabbing, and she remained in the

     hospital approximately a week.      During the first day of trial, when all of this

     testimony was presented, defendant did not object to Leah’s testimony about

     defendant’s statements.

¶4         On the second day of defendant’s trial, Leah informed the trial court she did

     not want “to testify against [her] husband.”       Defense counsel argued Leah was

     attempting to assert marital privilege, and he would “move to strike all of her

     testimony from yesterday.”     The State countered that marital privilege was not

     applicable if the defendant was being prosecuted for a felony he had committed

     against his wife.    After much discussion and research, the trial court denied

     defendant’s motion to strike and informed Leah

                  you have a duty in this case to testify and that based on the
                  Court’s understanding of the statute, that you can be
                  compelled to testify in this case and you have been
                  subpoenaed in this case by the State to testify and that you
                  have a duty and an obligation to answer all questions
                  proposed of you or proposed to you in a truthful manner.
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                  And if you refuse to answer those questions, ma’am, you
                  may be held and will be held in contempt of court[.2]

¶5         The jury found defendant guilty of attempted first degree murder and assault

     with a deadly weapon with intent to kill inflicting serious injury. The trial court

     entered judgments. Defendant appeals.

                         II.    Confidential Marital Communications

¶6         Defendant’s only argument on appeal is that “the trial court committed

     reversible error under N.C. Gen. Stat. § 8-57(c) when it allowed into evidence

     privileged marital communications that the State compelled defendant’s spouse to

     reveal pursuant to a subpoena.” (Original in all caps.) Whether a statement is “a

     privileged confidential communication” as defined by North Carolina General Statute

     § 8-57 “is a question of law” which this Court reviews de novo. State v. Matsoake, 243

     N.C. App. 651, 656, 777 S.E.2d 810, 813 (2015). Further, “[a]lleged statutory errors

     are questions of law and, as such, are reviewed de novo. Under de novo review, the

     appellate court considers the matter anew and freely substitutes its own judgment

     for that of the lower court.” State v. Hughes, 265 N.C. App. 80, 81–82, 827 S.E.2d




     2 Leah countered that she was not certain she was competent because she had “depression

     and posttraumatic stress disorder.” Counsel was appointed to represent Leah, and her
     counsel did not deem her to have any issues with competency as a witness. Leah’s
     competency as a witness is not at issue on appeal.
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     318, 320 (citation omitted), stay dissolved, writ of supersedeas denied, and disc. review

     denied, ___ N.C. ___, 830 S.E.2d 827 (2019).

¶7         Defendant’s argument focuses on limited portions of Leah’s testimony he

     contends are “privileged and confidential marital communications[.] . . . Specifically,

     these communications were: (1) requests to have sex . . .; (2) confessions of suicidal

     thoughts . . .; and (3) admissions by defendant of guilt to crimes against his wife[.]”

     Defendant does not challenge her testimony describing defendant’s actions, including

     stabbing her repeatedly.

¶8         North Carolina General Statute § 8-57 provides,


                  (b)    The spouse of the defendant shall be competent but
                         not compellable to testify for the State against the
                         defendant in any criminal action or grand jury
                         proceedings, except that the spouse of the defendant
                         shall be both competent and compellable to so
                         testify:
                         ....
                         (2)    In a prosecution for assaulting or
                         communicating a threat to the other spouse;
                         ....
                  (c)    No husband or wife shall be compellable in any event
                         to disclose any confidential communication made by
                         one to the other during their marriage.

     N.C. Gen. Stat. § 8-57.

                        To assess whether the conversations between
                  defendant and his wife were in fact protected by subsection
                  8–57(c), our analysis turns on whether there was a
                  confidential communication between defendant and his
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                    wife in the DOC facilities. When defining a confidential
                    communication in the context of the marital
                    communications privilege, this Court has asked whether
                    the communication was induced by the marital relationship
                    and prompted by the affection, confidence, and loyalty
                    engendered by such relationship.

       Rollins, 363 N.C. at 237, 675 S.E.2d at 337 (emphasis added) (citation, quotation

       marks and ellipses omitted).

¶9           The State contends that defendant failed to object to the statements at issue

       on appeal, and thus the issue is not preserved. Defendant contends his argument

       under North Carolina General Statute § 8-57 is preserved for appellate review even

       without a contemporaneous objection to the testimony.         Defendant also made a

       motion to strike Leah’s testimony, and the trial court heard extensive argument on

       the issues and ruled on the motion. But even if we assume arguendo that defendant’s

       motion to strike Leah’s testimony properly preserved his argument for appeal, the

       portions of testimony he challenges here were not confidential communications.

¶ 10         The State also contends that North Carolina General Statute § 8-57 is not

       applicable because Leah’s testimony of defendant’s statements were not “confidential

       communication” under the statute. Defendant counters in his reply brief he “has only

       challenged confidential communications pursuant to N. C. Gen. Stat.§ 8-57(c),” and

       thus “the State’s attempt to rely on an exception to the N.C. Gen. Stat. § 8-57(b) rule

       is misplaced.” (emphasis added). In defendant’s reply brief he relies on Biggs v. Biggs,
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       253 N.C. 10, 16, 116 S.E.2d 178, 183 (1960), wherein the Supreme Court stated, “It

       is true that an act of intercourse between husband and wife is a confidential

       communication[;]” but defendant takes this sentence entirely out of context to create

       his argument.

¶ 11         The issue in Biggs was: “Where, in an action by a husband for divorce on the

       ground of adultery, the wife pleads condonation and testifies that the husband had

       intercourse after agreeing to forgive her and that she is pregnant as a result of the

       intercourse, is it error to permit the husband to deny the intercourse?” Id. at 14, 116

       S.E.2d at 181. Based upon Biggs, a civil case under North Carolina General Statute

       § 8-56 as it was written in 1960, see id., 253 N.C. 10, 116 S.E.2d 178, defendant

       contends that    “our North Carolina Supreme             Court   has recognized that

       communications about marital sex between spouses are confidential communications

       and N.C. Gen. Stat. § 8-57([c]) states, without exception, that no spouse ‘shall be

       compellable in any event to disclose any confidential communication made by one to

       the other during their marriage.’” Defendant argues any statement related to sexual

       intercourse between spouses is a “confidential communication” which the trial court

       cannot compel “in any event[.]”

¶ 12         We first note that only one of the statements challenged by defendant was

       about sex; the other statements were regarding suicidal thoughts and admission of

       guilt to his crimes. Further, defendant’s Biggs argument, applicable only to the
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       statement regarding sex, entirely ignores North Carolina General Statute § 8-57

       (b)(2) which specifically provides that a spouse of a defendant “shall be both

       competent and compellable to testify” “[i]n a prosecution for assaulting or

       communicating a threat to the other spouse[.]” N.C. Gen. Stat. § 8-57(b)(2). A

       prosecution for attempted murder of a spouse and assault with a deadly weapon with

       intent to kill inflicting serious injury upon a spouse is “a prosecution for assaulting”

       the other spouse. Id.
¶ 13         Beyond the statements regarding sex, defendant also cites to criminal cases

       decided under North Carolina General Statute § 8-57 in support of his argument, but

       these cases are inapposite as the other spouse is not the victim in those cases, the

       very issue at the heart of North Carolina General Statute § 8-57(b)(2). See, e.g.,

       Rollins, 363 N.C. 232, 675 S.E.2d 334 (determining that spousal privilege under

       North Carolina General Statute § 8-57 “does not extend to communications occurring

       in the public visiting areas of the North Carolina Department of Correction (DOC)

       facilities because a reasonable expectation of privacy does not exist in such areas”);

       State v. Holmes, 101 N.C. App. 229 398 S.E.2d 873 (1990), aff’d, 330 N.C. 826, 412

       S.E.2d 660 (1992) (determining spousal privilege under North Carolina General

       Statute § 8-57 did apply when the defendant-husband told his wife he planned to kill

       someone else).

¶ 14         Ultimately,
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                   [w]hile recognizing that the cases and statutes pertinent to
                   this issue have not been models of clarity, our Supreme
                   Court has interpreted section 8–57 to mean that a spouse[]
                   shall be incompetent to testify against one another in a
                   criminal proceeding only if the substance of the testimony
                   concerns a confidential communication between the
                   marriage partners made during the duration of their
                   marriage[.] This interpretation:
                          allows marriage partners to speak freely to
                          each other in confidence without fear of being
                          thereafter confronted with the confession in
                          litigation. However, by confining the spousal
                          disqualification to testimony involving
                          confidential communications with the
                          marriage, we prohibit the accused spouse
                          from employing the common law rule solely to
                          inhibit the administration of justice.
                          To fall within the purview of this privilege, the
                   communication must have been made confidentially
                   between wife and husband during the marriage.
                   Accordingly,     the    determination     of  whether      a
                   communication is confidential within the meaning of the
                   statute depends on whether the communication was
                   induced by the marital relationship and prompted by the
                   affection, confidence, and loyalty engendered by such
                   relationship. With these rules in mind, we now turn to the
                   facts of the case at bar.

       State v. Hammonds, 141 N.C. App. 152, 169–70, 541 S.E.2d 166, 179 (2000) (citations

       and quotation marks omitted), aff’d per curiam, 354 N.C. 353, 554 S.E.2d 645 (2001).

¶ 15         As applied here, defendant’s statements demanding sex from his wife after

       having repeatedly stabbed her and while still wielding a knife were not “prompted by

       the affection, confidence, and loyalty engendered by such relationship.” N.C. Gen.
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       Stat. § 8-57(c) (emphasis added).       Further, defendant’s statements of suicidal

       thoughts and concern about arrest for the crime defendant was in the process of

       committing against his wife cannot be said to spring from “affection, confidence, and

       loyalty” borne out of marital relations. Id. Defendant was not confessing to his wife

       about a prior crime against someone else or confiding in her about his plans of a

       future crime but instead speaking about the violent act he was currently committing

       – assaulting Leah while still wielding a weapon as she begged for water, attempted

       to escape from defendant, and desperately needed medical attention due to wounds

       inflicted by defendant – and his concerns about the possible repercussions. Although

       North Carolina General Statute § 8-57(c) could theoretically apply to a defendant’s

       statements made during the commission of a crime, in this situation, defendant’s lack

       of “affection, confidence, and loyalty” in making these statements could not be clearer.

       Id.

¶ 16         Defendant has also failed to demonstrate prejudice from the admission of these

       portions of Leah’s testimony. Even if we agreed with defendant that his statements

       were somehow prompted by “affection, confidence, and loyalty” based on the marital

       relationship, exclusion of these limited portions of Leah’s testimony would not affect

       the outcome of the case. Leah’s testimony regarding what defendant did to her and

       the evidence of her injuries was far more important than what defendant said while

       he was stabbing or assaulting her. Id.; see generally State v. Godley, 140 N.C. App.
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       15, 26, 535 S.E.2d 566, 574–75 (2000) (“The erroneous admission of evidence requires

       a new trial only when the error is prejudicial. To show prejudicial error, a defendant

       has the burden of showing that there was a reasonable possibility that a different

       result would have been reached at trial if such error had not occurred.” (citations and

       quotation marks omitted)). This argument is overruled.

                                         III.   Conclusion

¶ 17         For the foregoing reasons, we conclude there was no error.

             NO ERROR.

             Judges ARROWOOD and HAMPSON concur.
